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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                FORT LAUDERDALE DIVISION

                                 CASE NO. 0:17-cv-60209-DPG

  MICHELLE FELICIANO.,

         Plaintiff,

  vs.

  PORTFOLIO RECOVERY ASSOCIATES, LLC,

       Defendant.
  ___________________________________/

                       PLAINTIFF’S MOTION TO VOLUNTARY DISMISS
                        COMPLAINT, PURSUANT TO F.R.C.P. 41(a)(2)

         Plaintiff, MICHELLE FELICIANO (hereinafter “Plaintiff”), by and through her
  counsel, Michael Tierney, P.A., files this Motion to Voluntary Dismiss her Complaint,
  and states as follows:

          1.      Plaintiff sued Defendant for violations of the Fair Debt Collection
  Practices Act, 15 U.S.C. §1692 et seq. (“FDCPA”) and Florida Consumer Collection
  Practices Act, § 559.72, Fla. Stat. (2015) (“FCCPA”). In particular:


          (a)            Defendant violated 15 U.S.C. §1692c(a)(2) when
   continued to attempt collection by calling Plaintiff’s cell phone,
   despite Defendant having communicated with Plaintiff’s counsel
   personally, and thus knowing that Plaintiff was represented by an
   attorney;
          (b)         Defendant violated §559.72(18) by calling Plaintiff’s cell
   phone, despite Defendant having communicated with Plaintiff’s
   counsel personally, and thus knowing that Plaintiff was represented
   by an attorney;



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          2.    Plaintiff prosecuted the 15 U.S.C. §1692c(a)(2) and §559.72(18) claims
  in good faith based on her personal knowledge of the call s h e received after
  Plaintiff told Defendant that Plaintiff was represented by an attorney.


          3.         While there is a reasonable legal argument that the call violated
   FDCPA & FCCPA when Defendant communicated with Plaintiff knowing that “the
   consumer is represented by an attorney with respect to such debt and has knowledge
   of, or can readily ascertain, such attorney’s name and address”, given the fact that
   district courts have been divided on this question, the potential recovery, and the
   difficulty of winning at trial even if successful at defeating summary judgment, Plaintiff
   decided not to pursue these claims.


          4.       Therefore, on 05/23/2017, Plaintiff offered to dismiss the case with
   each side to bear its own costs. Defendant counsel’s office, did not agree to stipulate
   dismissal with each side to bear their own costs.


          5.    Fed. R. Civ. P. 41(a)(2) grants federal courts the discretion to grant
  allow a Plaintiff to    voluntarily dismiss his case. See Fed. R. Civ. P. 41(a)(2).
  Accordingly, “motions for voluntary dismissal should be freely granted unless the non-
  moving party will suffer some plain legal prejudice other than the mere prospect of a

  second lawsuit.” Robles v. Atlantic Sounding Co., Inc., 77 F3ed. Appx. 274, 275 (5th
  Circ. 2003)


          WHEREFORE, Plaintiff respectfully requests that the Court enter an order
   voluntarily dismissing this case, each side to bear its own costs.




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                                      CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a true and correct copy of the foregoing has been
  forwarded by e-mail designation through the electronic filing portal to Robert E. Sickles
  (rsickles@broadandcassel.com) & to John P. Gaset (jgaset@broadandcassel.com) on
  this 26th day of May, 2017.



  _______________________
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